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                                                               Richard E. Lerner
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July 27, 2022
Via ECF
Magistrate Judge William I. Arbuckle
Herman T. Schneebeli Federal Bldg. & U.S. Courthouse
240 West Third Street
Williamsport, PA 17701

       Re:      Parfinim NV (petitioner) v. Warden Tellez (respondent)
                / Warden Rachel Thompson (respondent)
                Docket No.: 4:22-cv-01102-WIA
Dear Magistrate Judge Arbuckle:
        I am writing on behalf of petitioner Parfinim NV to memorialize my telephone call with
your law clerk Tim Cordova, and to request that this matter be held in abeyance.
        This proceeding (which has been transferred from the Southern District of New York)
seeks an order, in sum, directing that the Bureau of Prisons produce inmate Inigo Philbrick for
deposition, to be taken by the parties in a New York State civil matter, entitled Parfinim NV and
Aiden Fine Arts, Inc. v. Uovo Art, LLC, et al., 656534/2019.
        Subsequent to the transfer to the Middle District of Pennsylvania, BOP attorney Matthew
Lavelle reached out to me to advise that the BOP would be amenable to voluntarily producing
Mr. Philbrick for deposition. After coordinating with counsel for Aiden Fine Arts, and further
communications with Mr. Lavelle, the deposition for Mr. Philbrick was scheduled for September
15th, to be conducted via video link.
        Accordingly, we request that this proceeding be held in abeyance. We expect that upon
completion of Mr. Philbrick’s deposition on September 15th, the petition will be withdrawn. I
will update the court as to the status of the matter on Friday, September 16th, after Mr.
Philbrick’s deposition.
        Mr. Cordova also advised of the court’s concern that Mr. Philbrick be informed of his
right to counsel prior to the deposition; accordingly, I will also write to him this afternoon so
advising him. If the court wishes me to docket that letter to Mr. Philbrick, please advise.
        Finally, in my notice of appearance, I indicated that I would be filing for admission to the
Middle District of Pennsylvania. As this matter is expected to become moot, I have not yet filed
for admission.
                                               Respectfully submitted,
                                               MAZZOLA LINDSTROM LLP

                                              Richard E. Lerner


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cc:   (via email)

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